Case 2:17-cV-03904-.]FB-S|L Document 43

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

Filed 11/17/17 Page 1 of 1 Page|D #: 424

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GOVERNl\/IENT EMPLOYEES INSURANCE
COMPANY, GEICO INDEMNITY COMPANY,
GEICO GENERAL INSURANCE COMPANY and
GEICO CASUALTY COMPANY,

Plaintiffs,
-against-

ELITE MEDICAL SUPPLY OF NEW YORK, LLC,
GARY NIKIEL,
The “Elite Defendants”,
-and-

JOHN WARD, D.C., WALTER MENDOZA, D.C.,
TODD GOLDMAN, D.C.,
GEOFFREY GEROW, D.C., HSIYEN-YI LU, D.C.,

Civil Action No.: 2:17-CV-03904

STIPULATION TO EXTEND TIME
TO ANSWER

BERNARD SENGSTOCK, D.C., OLEG BARSHAY, D.C.,

And MICHAEL KIl\/IMEL, D.C.,

The “Chiropractor Defendants”.

X

 

TO THE CLERK OF THE COURT AND ALL PARTIES OF RECORD:

IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned, as attorneys for the
parties to the above entitled proceeding, that the time for Defendant WALTER MENDOZA, D.C. to Answer in
response to the underlying Summons and Complaint is hereby extended up to, and including, December 15, 201 7.

IT IS ALSO HEREBY STIPULATION AND AGREED that Defendant, WALTER MENDOZA, D.C.,

by its attorneys, Waives any objections to service. For the purposes of this stipulation, facsimile signatures shall

be deemed originals. The stipulation may be executed in parts.

Dated: Melville, New York
November l6, 2017

 

 

§y: Sean Gorton, Esq.

RIVKIN RADLER, LLP

Attorneys for Plaintiffs

GOVERNMENT EMPLOYEES INS. CO.,
GE|CO lNDEl\/lNlTY COl\/IPANY,

GEICO GENERAL lNSURANCE COMPANY

Farmingdale, NY ll735 and GEICO CASUALTY COl\/IPANY

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